                        Case 1-19-44421-ess                    Doc 40         Filed 02/07/20                  Entered 02/07/20 13:49:50
                                                                                                                                                                  AMENDED

 Fill in this information to identify your case:

                     Helen Pardo De Figueroa
 Debtor 1          __________________________________________________________________
                     First Name               Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name                 Last Name


                                         ______________________
 United States Bankruptcy Court for the: Eastern District of New York District of __________
                                                                                       (State)
 Case number
  (If known)
                      19-44421
                     ___________________________________________                                                                                    
                                                                                                                                                    ✔ Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                              4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                           exemption you claim

                                                              Copy the value from                       Check only one box
                                                              Schedule A/B                              for each exemption
                 108-24 41st Ave                                                                                                       N.Y. CPLR § 5206 (a)
 Brief
 description:
                                                                      450,000.00
                                                                     $________________           
                                                                                                 ✔ $ ____________
                                                                                                     165,550.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:        1.1
                 Household goods - Used Furniture and other                                                                            NY CPLR § 5205
 Brief           household goods
 description:
                                                                       1,500.00
                                                                     $________________            $ ____________
                                                                                                  ✔  1,500.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:          6
                 Electronics - TV                                                                                                      N.Y. CPLR § 5205 N.Y. Debt. & Cred.
 Brief
 description:                                                        $________________
                                                                       200.00                    
                                                                                                 ✔ $ ____________
                                                                                                     200.00                            Law § 283

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                              page 1 of __
                      Case 1-19-44421-ess                           Doc 40    Filed 02/07/20         Entered 02/07/20 13:49:50
                                                                                                                                                              AMENDED
Debtor           Helen Pardo De Figueroa
                _______________________________________________________                                                    19-44421
                                                                                                    Case number (if known)_____________________________________
                First Name      Middle Name             Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                 Amount of the                       Specific laws that allow exemption
                                                                        Current value of the   exemption you claim
         on Schedule A/B that lists this property                       portion you own
                                                                       Copy the value from    Check only one box
                                                                        Schedule A/B           for each exemption
               Electronics - Cell Phone                                                                                             N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                               Law § 283
description:
                                                                          100.00
                                                                         $________________        100.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         7
               Clothing - Used Clothing                                                                                             NY CPLR § 5205
Brief
description:                                                             $________________
                                                                          200.00               
                                                                                               ✔ $ ____________
                                                                                                   200.00
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Necklace, Ring, and Bracelet                                                                               N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief
description:                                                             $________________
                                                                          1,500.00             
                                                                                               ✔ $ ____________
                                                                                                   400.00                           Law § 283

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         12
               Jewelry - Necklace, Ring, and Bracelet                                                                               NY CPLR § 5205
Brief
description:
                                                                          1,500.00
                                                                         $________________        1,100.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:         12
               Cash in Pocket (Cash On Hand)                                                                                        N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                               Law § 283
description:
                                                                          60.00
                                                                         $________________        60.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:        16
               HSBC (Checking)                                                                                                      N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                               Law § 283
description:
                                                                          900.00
                                                                         $________________        900.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:          17.1
               Allstate Home Insurance                                                                                              N.Y. CPLR § 5205 N.Y. Debt. & Cred.
Brief                                                                                                                               Law § 283
description:
                                                                          1.00
                                                                         $________________        1.00
                                                                                               ✔ $ ____________

                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:       31
             Former Counsel claim for refund of legal fees and                                                                      N.Y. CPLR § 5205 (a)(9)
Brief        possible legal malpractice claim; Full amount unknown
description: (owed to debtor)                                            $________________
                                                                          1.00                 
                                                                                               ✔ $ ____________
                                                                                                   1.00
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:           33

Brief
description:                                                             $________________      $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________      $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:
Brief
description:                                                             $________________      $ ____________
                                                                                                100% of fair market value, up to
                                                                                                  any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                             $________________      $ ____________
                                                                                                100% of fair market value, up to
Line from                                                                                         any applicable statutory limit
Schedule A/B:


 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                                2      2
                                                                                                                                                     page ___ of __
